Case 1:19-cv-00326-JJM-PAS Document 2 Filed 06/13/19 Page 1 of 5 PageID #: 32



                             UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF RHODE ISLAND


JOHN DOE,                                     :
     Plaintiff,                               :
                                              :
v.                                            :               C.A. No. 1:19-cv-000326
                                              :
PROVIDENCE COLLEGE,                           :
     Defendant.                               :


               PLAINTIFF’S MOTION FOR TEMPORARY RESTRAINING
                     ORDER AND PRELIMINARY INJUNCTION

       Plaintiff, John Doe, pursuant to Fed. R. Civ. P. 65, hereby moves this Honorable Court

for a temporary restraining order and preliminary injunction against Defendant, Providence

College (“PC”) compelling PC to undertake and provide a fair investigation and hearing of the

Title IX Complaint to include (i) submission of the Polygraph Report to the hearing board for its

consideration, (ii) providing Plaintiff and his advisor with a copy of the Preliminary Report and

any final report, (iii) providing Plaintiff sufficient time within which to prepare responses to any

such reports, (iv) cross-examination of Complainant and her witnesses, and (v) appointing a new

investigator who does not exceed his/her role to investigate and report the facts.

                                                  Facts

       Plaintiff began his freshman year at PC in August 2018. On March 18, 2019, Plaintiff

was made aware of a complaint having been filed by a female PC student (“Complainant”)

alleging that Plaintiff sexually assaulted her in the late evening of September 29, 2018/early

morning of September 30, 2018 (“Title IX Complaint”) in violation of PC’s Sexual Misconduct

or Relationship Violence Policy: Grievance Resolution Procedures for Reports of Policy

Violations Against Students (the “Sexual Misconduct Policy”). (See Exhibit A to Complaint.)


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Case 1:19-cv-00326-JJM-PAS Document 2 Filed 06/13/19 Page 2 of 5 PageID #: 33



The nature of the Title IX Complaint made against Plaintiff is that he proceeded to have sex with

Complainant without first obtaining affirmative consent from her.

          PC’s colorful history of how it handles adversarial proceedings is relevant to Plaintiff’s

request for injunctive relief in this case. PC appointed Kristie McCann Passalacqua, Esq. as an

external investigator (“Investigator”) to conduct the investigation into the Title IX Complaint.

PC’s Associate Vice President/Associate General Counsel Gail Dyer, J.D. (“Ms. Dyer”) has also

been involved in the Title IX Complaint. PC has a long-standing relationship with the

Investigator including the Investigator serving as defense counsel to PC in the R.I. Superior

Court case of John E. Langley, Jr. as administrator of the Estate of John D. Langley v.

Providence College, C.A. No. PC-2005-5702. In Langley v. Providence College, Judge Hurst

issued a decision detailing PC’s pattern of concealment, evasion, and obstruction and

misrepresentations made to the Court by PC and/or its counsel. (See 2009 WL 3328496).1

Admittedly, Judge Hurst did not identify who in particular on PC’s behalf was ultimately

responsible for the egregious conduct she discovered. Nonetheless, the same players, Ms. Dyer

and the Investigator, are both involved in this case.


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    Judge Hurst held as follows:
                 Providence College’s interrogatory answers appear to have been
                 artfully crafted and, together with the timing and sequence of the
                 answers, evidence an overall scheme designed to obscure and
                 confuse the truth about what the College knew… The skillfully
                 wrought and obfuscating answers evidence a pattern of recalcitrance
                 amounting to the obstruction of discovery in this case.
2009 WL 3328496, *46 (R.I. Super. 2009).
                 It appears as if in motion was a general plan to influence the outcome
                 of this litigation by concealing or obscuring discoverable facts and
                 information.
Id. at *47.



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Case 1:19-cv-00326-JJM-PAS Document 2 Filed 06/13/19 Page 3 of 5 PageID #: 34



       Here, Plaintiff underwent a polygraph examination on April 18, 2019 that was conducted

by one of the nation’s leading polygraph examiners. The polygraph examination and results

were peer-reviewed by a second leading polygraph examiner. Plaintiff passed the polygraph

examination. On April 26, 2019, Plaintiff handed the Investigator a copy of the polygraph

results and peer-review examination (the “Polygraph Report”) requesting that it be made a part

of the evidence submitted to the hearing board. On May 22, 2019, the Investigator informed

Plaintiff that she could not incorporate it into her report as part of the fact gathering and

analyzing process in her investigation simply because “[a]s the investigator, per PC’s policy, I

have discretion to include or exclude certain types of information and I decided to exclude this

[polygraph] report.”

       On May 22, 2019, Plaintiff’s advisor, John R. Grasso, Esq. (“Attorney Grasso”) sent a

letter to Gail Dyer, J.D., Associate Vice President/Associate General Counsel (“Ms. Dyer”),

requesting that the Investigator be asked to reconsider her decision to exclude the Polygraph

Report as part of the evidence to be submitted to the hearing board. Ms. Dyer has not responded

to Attorney Grasso’s letter request, nor has the Investigator indicated that she has reconsidered

her decision to exclude the Polygraph Report.

       On May 28, 2019 at 3:50 pm, PC’s Office of Community Standards emailed Plaintiff

informing him that it had received the Investigator’s preliminary report regarding the Title IX

Complaint (“Preliminary Report”) and offered to make it available for viewing (without copying,

photographing or removing it) by Plaintiff and his advisor during normal business hours for as

long as reasonably necessary. However, Plaintiff was only given until 2:00 pm on May 31, 2019

to conduct the review with his advisor and provide his response. At Attorney Grasso’s request,

PC has agreed to give Plaintiff until 2:00 pm on June 14, 2019 to provide his response to the



                                                   3
Case 1:19-cv-00326-JJM-PAS Document 2 Filed 06/13/19 Page 4 of 5 PageID #: 35



Preliminary Report. The Preliminary Report is 75 single-spaced pages with 50 tabbed sections

containing 136 additional pages of exhibits.

                                            Argument

       The Sexual Misconduct Policy provides the Plaintiff with “[t]he opportunity to challenge

the impartiality of a Hearing Board member or Investigator,” “[t]he fair opportunity to provide

information” and “[t]he right to a reasonable and fair outcome.” (See Exhibit A to Complaint, p.

6). These are contractual rights afforded Plaintiff in this case to which PC is legally obligated to

deliver. A review of the Preliminary Report makes it clear that the Investigator has not

maintained impartiality and has allowed evidence that is favorable to Complainant while refusing

to consider evidence that is favorable to Plaintiff. The Investigator’s actions have jeopardized

Plaintiff’s right to a reasonable and fair outcome.

       The Investigator refused to consider the Polygraph Report in the investigation despite its

relevance in a case that is largely based on the credibility of the Plaintiff and Complainant.

While the Investigator refused to consider a valuable piece of evidence without any basis or

rationale, the Investigator did include in the 75-page Preliminary Report many factual inferences

that are entirely irrelevant to whether Plaintiff violated the Sexual Misconduct Policy. The

Preliminary Report also contains conclusions and assumptions by the Investigator which exceed

the Investigator’s role and encroaches on the hearing board’s purview to evaluate and weigh the

evidence. For example, the Preliminary Report includes a section “investigative conclusion”

which contains the Investigator’s conclusions of the evidence. This is clearly outside the

purview of the Investigator and should be left to the sound discretion of the hearing board.

       Finally, the Sexual Misconduct Policy provides for a fundamentally unfair grievance

procedure, both as to the investigation and hearing including the prohibition against cross-



                                                  4
Case 1:19-cv-00326-JJM-PAS Document 2 Filed 06/13/19 Page 5 of 5 PageID #: 36



examination of complainant or witnesses and against copying, photographing or removing any

investigative report. Plaintiff has been unfairly prejudiced by PC’s refusal to provide Plaintiff

with a copy of a very lengthy Preliminary Report in order for his counsel to provide a

meaningful response.

       WHEREFORE, Plaintiff requests that his Motion for Temporary Restraining Order and

Preliminary Injunction be granted.

       Pursuant to LR Cv 7(a)(c), Plaintiff requests a conference or brief hearing for a

temporary restraining order and, if necessary, oral argument and an evidentiary hearing for

preliminary injunction that Plaintiff estimates will not exceed one day.

                                                      JOHN DOE,
                                                      Plaintiff,
                                                      By his Attorneys,


                                                      /s/ Theresa L. Sousa
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